             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE EIGHTH CIRCUIT



STATE OF MISSOURI, et al.,
       Plaintiffs-Appellees / Cross-Appellants,

                                                            Nos. 24-2332,
             v.
                                                              24-2351

JOSEPH R. BIDEN, JR., et al.,
       Defendants-Appellants / Cross-Appellees.



                        NOTICE OF COMPLIANCE

      Defendants-cross-appellees (collectively, the Department)

respectfully submit this Notice of Compliance to inform cross-appellants

and the Court of actions taken to comply with this Court’s July 18, 2024

Order granting the emergency motion for an administrative stay. That

order “prohibit[s] the [cross-]appellees from implementing or acting

pursuant to the Final Rule until this Court rules on the [cross-]appellants’

motion for an injunction pending appeal.”

      The Department understands the order to prohibit the

implementation or application of any part of the Final Rule, including the

payment provisions that were challenged by plaintiffs and not enjoined by



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the district court, as well as many other provisions that were never

challenged at all. Accordingly, the Department has begun the process of

putting all borrowers enrolled in the SAVE plan into forbearance pending

further decision of this Court. The Department will continue its current

practice, adopted in compliance with the district court’s preliminary

injunction, of not processing any loan forgiveness on the shortened

timelines provided for in the Final Rule. Because both this Court’s order

and the district court’s preliminary injunction specifically restrict actions

taken pursuant to the “Final Rule,” the Department does not understand

either order to apply to actions taken under other, preexisting regulations,

including those creating REPAYE, PAYE, and the original income

contingent repayment plan that authorize loan forgiveness after 20 or 25

years of payments.




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                                Respectfully submitted,

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    JULY 2024




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                       CERTIFICATE OF SERVICE

     I hereby certify that on July 19, 2024, I electronically filed the

foregoing with the Clerk of the Court by using the appellate CM/ECF

system. Participants in the case are registered CM/ECF users, and service

will be accomplished by the appellate CM/ECF system.

                                             /s/ Simon C. Brewer
                                            Simon C. Brewer




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